                                               Case 5:20-cv-02618-JWH-KK Document 73-3 Filed 03/14/22 Page 1 of 2 Page ID #:609



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                                                                     10

                                                                     11                     UNITED STATES DISTRICT COURT
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                                                                     12                   CENTRAL DISTRICT OF CALIFORNIA
                      601 South Figueroa Street, Suite 1950
                          Los Angeles, California 90017




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                                                                                                    EASTERN DIVISION
LIANG LY LLP




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                                                                     15   HEREDIA BOXING MANAGEMENT,              CASE NO. 5:20-cv-02618-JWH-KK
                                                                          INC., a California corporation; and
                                                                     16   MOSES HEREDIA, an individual,           Hon. John W. Holcomb
                                                                     17
                                                                                     Plaintiffs,                  [PROPOSED] ORDER
                                                                     18                                           GRANTING SPECIALLY
                                                                     19   vs.                                     APPEARING DEFENDANT
                                                                                                                  DANIEL KINAHAN’S MOTION
                                                                     20   MTK GLOBAL USA, LLC, a Delaware         TO SET ASIDE ENTRY OF
                                                                     21   limited liability company, et al.,      DEFAULT
                                                                     22              Defendants.
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                                                                                                       [PROPOSED] ORDER
                                               Case 5:20-cv-02618-JWH-KK Document 73-3 Filed 03/14/22 Page 2 of 2 Page ID #:610



                                                                      1         IT IS HEREBY ADJUDGED AND ORDERED that the entry of default
                                                                      2   against Specially Appearing Defendant Daniel Kinahan (“Mr. Kinahan”) be set
                                                                      3   aside. Good cause exists to set aside pursuant to Fed. R. Civ. P. 55(c) because
                                                                      4   Mr. Kinahan was not culpable in allowing default to be entered, Mr. Kinahan can
                                                                      5   present a meritorious defense to the Second Amended Complaint, Plaintiffs
                                                                      6   Heredia Boxing Management, Inc. and Moses Heredia (“Plaintiffs”) will not be
                                                                      7   prejudiced if the default is set aside, and service of the Second Amended
                                                                      8   Complaint upon Mr. Kinahan was procedurally defective. See United States v.
                                                                      9   Signed Pers. Check No. 730 of Yubran S. Mesle, 615 F.3d 1085, 1086 (9th Cir.
                                                                     10   Cir. 2010); Winplus N. Am., Inc. v. Scan Top Enter. Co., Ltd., 2015 WL
                                                                     11   13919469, at *3 (C.D. Cal. Dec. 7, 2015).
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                                                                     12
                      601 South Figueroa Street, Suite 1950




                                                                          IT IS SO ORDERED.
                          Los Angeles, California 90017




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LIANG LY LLP




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                                                                          DATED: _____________
                                                                                                                        Hon. John W. Holcomb
                                                                     17                                                United States District Judge
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                                                                                                          [PROPOSED] ORDER
